Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 1 of 8




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-CV-01141-MSK-NYW

   TATONKA CAPITAL CORPORATION, a Colorado corporation,

          Plaintiff,

   v.

   MICHAEL CONNELLY,

          Defendant.


                                    PLAINTIFF’S TRIAL BRIEF


          Plaintiff, TATONKA CAPITAL CORPORATION (“Tatonka”), hereby submits its

   Trial Brief in regard to two legal issues that Plaintiff expects will arise at trial of this case.

   Those issues are: (1) whether the related doctrines of claim preclusion (res judicata)

   and/or issue preclusion (collateral estoppel) apply to the determination that, as of

   December 11, 2015, Mosaica Education Services, Inc. (“Mosaica”) owed to Plaintiff

   $5,068,480.22, which was made by the United States District Court for the Northern

   District of Georgia in Civil Action No. 1:14-CV-03017-TCB, titled Tatonka Capital

   Corporation v. Mosaica Education, Inc., et al., (“the Receivership Case”)1; and (2) whether




   1 The issues of claim preclusion and issue preclusion were fully briefed by the parties
   previously as part of Plaintiff’s Motion for Summary Judgment. Doc. 83 at Pages 10-15;
   Doc. 92 at Pages 9-16; Doc. 95 at Pages 9-14. As a result, this issue comes as no
   surprise to Defendant Connelly.
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 2 of 8




   Defendant Connelly’s claimed defense of “Knowledge of Other Party’s Mistaken Belief”

   (Doc. 119 at Page 3, ¶3) states a legal defense and creates an issue for trial.

                      CLAIM PRECLUSION AND ISSUE PRECLUSION

          Based on discussions regarding possible stipulations of facts prior to trial,

   Defendant Connelly will dispute the amount owed by Mosaica to Tatonka, which is subject

   to Defendant Connelly’s Guaranty Agreements. However, as a result of claim preclusion

   (res judicata) and/or issue preclusion (collateral estoppel), Defendant Connelly cannot

   contest the amount determined by the Court in the Receivership Case to be owing by

   Mosaica to Tatonka.

           In diversity cases, federal common law governs the claim-preclusive effect of a

   judgment and the federal common law rule in such a case is to apply the law that would

   be applied by state courts in the State in which the federal diversity court sits. Semtek

   International Inc. v. Lockheed Martin Corp., 531 U.S. 497, 508 (2001). Because subject

   matter jurisdiction of the Federal Court in Georgia in the Receivership Case was based

   on diversity2, the claim-preclusive effect of the Judgment of the Court in the Receivership

   Case is to be determined by Georgia state law. Accord, CSX Transportation, Inc. v.

   General Mills, Inc, 846 F.3d 1333, 1340 (11th Cir. 2017) (“federal common law borrows




   2 Doc. 83, Undisputed Fact 9 (Page 6), citing Doc. 83-2 and Doc. 83-19. This Court may
   take judicial notice of the Court file in the Receivership Case. Horton v. Davis, Civil Action
   No. 13-cv-01089-REB-NYW, 2015 WL 7294815 (D.Colo. Nov. 19, 2015), citing Hansen
   v. Harper Excavating, Inc., 641 F.3d 1216, 1219 n.2 (10th Cir. 2011), and Tal v. Hogan,
   453 F.3d 1244, 1264 n.24 (10th Cir. 2006). Accord, Stan Lee Media, Inc. v. Walt Disney
   Co., 774 F.3d 1292, 1298 n.2 (10th Cir. 2014); St. Louis Baptist Temple, Inc. v. FDIC, 605
   F.2d 1169, 1172 (10th Cir. 1979).
                                                 2
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 3 of 8




   the state rule of collateral estoppel to determine the preclusive effect of a federal judgment

   where the court exercised diversity jurisdiction”).

            Pursuant to Georgia state law, res judicata provides that the judgment of a court

   competent to render it is conclusive as to the same parties and their privies and in regard

   to all matters actually put in issue or which might have been lawfully put in issue in the

   action in which the judgment was rendered. Bostick v. CMM Properties, Inc., 772 S.E.2d

   671, 673 (Ga. 2015). There are three requirements which must be satisfied in order for

   res judicata to apply: there must be identity of the cause of action, identity of the parties

   or their privies, and previous adjudication on the merits by a court of competent

   jurisdiction. Id. Finally, the party against whom the doctrine of res judicata is raised as a

   bar to the subsequent suit must have had a full and fair opportunity to litigate the issues

   in the first action. Id.

            1.     As to the first element, identity of the cause of action, Georgia state law

   provides that “[a] cause of action has been deemed to be ‘the entire set of facts which

   give rise to an enforceable claim.’” Lilly v. Heard, 761 S.E.2d 46, 50 (Ga. 2014).3

   Tatonka’s breach of contract claim in the Receivership Case was to determine the amount

   owed by Mosaica to Tatonka, and was based on the same facts as Tatonka’s claim in this

   case to enforce Defendant Connelly’s personal guarantees of that same amount.4


   3In Hernandez v. Asset Acceptance, LLC, 970 F.Supp.2d 1194, 1197-98 (D. Colo. 2013)
   (Krieger, C.J.), this Court similarly held that “identity of the cause of action” for purposes
   of claim preclusion means “the claims arise out of the same transaction, or series of
   connected transactions.”
   4   Doc. 83, Undisputed Facts 9 (Page 6), 10 (Page 6) and 16 (Pages 8-10).

                                                 3
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 4 of 8




            Collateral estoppel also prevents Defendant Connelly from contesting the amount

   determined by the Court in the Receivership Case to be owed by Mosaica to Tatonka.

   Pursuant to Georgia state law, the primary difference from res judicata is that collateral

   estoppel does not require identity of the claim, so long as the issue was determined in the

   previous action. Body of Christ Overcoming Church of God, Inc. v. Brinson, 696 S.E.2d

   667, 669 (Ga. 2010).5 It is undisputed that the Court in the Receivership Case determined

   the amount owed by Mosaica to Tatonka which is the same issue to be determined in this

   case, the purpose of which is to enforce the personal guarantees of that same amount.6

            2.    The second element of both res judicata and collateral estoppel requires

   identical parties or their privies.   This element is met because, although Defendant

   Connelly was not a named party in the Receivership Case, he was Mosaica’s privy and

   he was expressly allowed by the Court in the Receivership Case to participate directly in

   that litigation for himself and similarly situated shareholders, which he did.

            Pursuant to Georgia law, “[a] privy is generally defined as ‘one who is represented

   at trial and who is in law so connected with a party to the judgment as to have such an

   identity of interest that the party to the judgment represented the same legal right.’” Lilly



   5
     Collateral estoppel pursuant to Colorado law has, in effect, the same elements: the
   issue precluded was actually litigated and necessarily determined in the prior proceeding;
   the party against whom estoppel is sought was a party or in privity with a party to the prior
   proceeding; there was a final judgment on the merits; and the party against whom
   estoppel is sought had a full and fair opportunity to litigate the issues. Nichols v. Bd. of
   County Com’rs of County of La Plata, Colorado, 506 F.3d 962, 967 (10th Cir. 2007),
   quoting Bebo Constr. Co. v. Mattox & O’Brien, P.C., 990 P.2d 78, 84-85 (Colo. 1999).
   6   Doc. 83, Undisputed Facts 2-7 (Pages 2-4) and 9-16 (Pages 6-10).

                                                 4
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 5 of 8




   v. Heard, 761 S.E.2d at 50.       The Georgia Supreme Court has recognized that a

   corporation and its directors are privies. Body of Christ Overcoming Church of God, Inc.

   v. Brinson, 696 S.E.2d at 669, citing QOS Networks, Ltd. v. Warburg, Pincus & Co., 669

   S.E.2d 536, 540 (Ga. App. 2008) (“Management Shareholders” are privies with

   corporation).    The Georgia Court of Appeals has applied the same reasoning to

   guarantors, shareholders and officers. Coffee Iron Works v. QORE, Inc., 744 S.E.2d 114,

   118-19 (Ga. App. 2013); Donalson v. Coca-Cola Co., 298 S.E.2d 25, 28 (Ga. App. 1982).7

            At all material times, Defendant Connelly was the Chief Executive Officer and a

   Director of Mosaica.8 In addition, the Court in the Receivership Case expressly granted



   7  Many courts in other jurisdictions have also held that corporations and their officers,
   directors and guarantors are privies. E.g., Virnich v. Vorwald, 664 F.3d 206, 216 (7th Cir.
   2012) (shareholder who participated in receivership case was in privity with corporation);
   Fox v. Maulding, 112 F.3d 453, 459-60 (10th Cir. 1997), quoting Lowell Staats Mining Co.,
   Inc. v. Philadelphia Elec. Co., 878 F.2d 1271, 1277 (10th Cir. 1989) (“[a] director’s close
   relationship with the corporation will generally establish privity”); Belmont Realty Corp. v.
   Bogosian, 11 F.3d 1092, 1097 (1st Cir. 1993) (corporate officer who participated in
   corporation obtaining underlying loan and who guaranteed the loan was corporation’s
   privy); Southmark Properties v. Charles House Corp., 742 F.2d 862, 870 (5th Cir. 1984)
   (guarantor who was president and stockholder was corporation’s privy); Continental
   Illinois Nat’l Bk. & T. Co. of Chicago v. Windham, 668 F.Supp. 578, 583 (E.D. Tex. 1987)
   (guarantor who was president, director and shareholder is in privity with corporate
   principal for purposes of res judicata); Walter E. Heller & Co., Inc. v. Cox, 343 F.Supp.
   519, 524-25 (S.D.N.Y. 1972), aff’d 486 F.2d 1398 (2d Cir.), cert. denied, 414 U.S. 827
   (1973) (“a guarantor is bound by a prior adjudication involving the principal debtor if the
   guarantor had notice of and an opportunity to participate in the prior proceeding.”);
   Bunnett v. Smallwood, 768 P.2d 736, 740 (Colo. App. 1988), rev’d on other grounds 793
   P.2d 157 (Colo. 1990) (guarantor who was corporate president, director and stockholder
   was privy); Bartle v. Health Quest Realty VII, 768 N.E.2d 912, 920-21 (Ind. App. 2002)
   (guarantor was privy of limited partnership which he controlled); Specialty Restaurants
   Corp. v. Barry, 653 N.Y.S.2d 972 (App. Div. 1997) (guarantor who was also president,
   director and shareholder of corporation was privy).
   8   Doc. 83, Undisputed Fact 1 (Page 2).
                                                5
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 6 of 8




   standing to Defendant Connelly, as a shareholder of Mosaica, for himself and similarly

   situated shareholders, to assert and prosecute “defenses and claims against Tatonka” on

   behalf of Mosaica in the Receivership Case.9 Defendant Connelly fully exercised the right

   granted to him by the Receivership Court and the Court in the Receivership Case fully

   addressed all of the issues raised by Defendant Connelly.10 Under these circumstances,

   the requirement that Defendant Connelly be a privy of Mosaica is met.

            3.    The third element is that there must have been a final adjudication on the

   merits. It cannot be disputed that the Court in the Receivership Case finally determined

   the amount owed by Mosaica to Tatonka on the merits.11

            4.    Finally, as explained above and as shown by their filings in the Receivership

   Case, Defendant Connelly had a full and fair opportunity in the Receivership Case to

   litigate the amount owed by Mosaica to Tatonka.12

            The determination of the amount owed by Mosaica to Tatonka by the Court in the

   Receivership Case is binding on Defendant Connelly in this case.

                  “KNOWLEDGE OF OTHER PARTY’S MISTAKEN BELIEF”

            In this Court’s Order on the parties’ summary judgment motions (Doc. 112), the

   Court rejected Defendant Connelly’s defenses with the sole exception of his defense of




   9   Doc. 83, Undisputed Fact 11 (Pages 6-7).
   10   Doc. 83, Undisputed Facts 12 and 13 (Pages 7-8).
   11   Doc. 83, Undisputed Facts 9-16 (Pages 6-10).
   12   Doc. 83, Undisputed Facts 9-16 (Pages 6-10).

                                                  6
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 7 of 8




   mutual mistake. Doc. 112 at Pages 5-9. Accord, Doc. 122 at Page 5 (the fact that

   Defendant Connelly’s defense of mutual mistake is equitable creates an independent

   basis for striking his jury demand).

          Notwithstanding the foregoing, in the Revised Final Pretrial Order, Defendant

   Connelly listed as a defense, in addition to mutual mistake, “Knowledge of Other Party’s

   Mistaken Belief” which he asserts is a defense “[e]ven if Defendant is unable to sustain

   its [sic] burden of proof that Tatonka shared the belief that the guaranties [sic] reflected

   the meeting of the minds as stated above, …..” Doc. 119 at Page 3, ¶3. Defendant

   Connelly has cited no authority in support of this purported defense which is a defense of

   unilateral rather than mutual mistake. However, as this Court previously recognized in

   this case, Defendant Connelly’s unilateral mistake is not a defense. Doc. 112 at Page 6.

   Under these circumstances, the Court should rule that this purported defense is not an

   issue to be determined at trial.

          Dated this 29th day of November, 2018.

    /s/ Denis H. Mark                               /s/ John Henry Schlie
    Denis H. Mark                                   John Henry Schlie
    DENIS H. MARK, P.C.                             JOHN HENRY SCHLIE, P.C.
    5105 DTC Parkway, Suite 450                     5105 DTC Parkway, Suite 450
    Greenwood Village, CO 80111                     Greenwood Village, CO 80111
    Telephone: (303) 741-4741                       Telephone: (303) 830-1616
    Facsimile: (303) 220-8150                       Facsimile: (303) 220-8150
    Email: dmark@dhmpc.com                          Email: johnhenry@schlielawfirm.com
                                             ATTORNEYS FOR PLAINTIFF




                                                7
Case 1:16-cv-01141-MSK-NYW Document 124 Filed 11/29/18 USDC Colorado Page 8 of 8




                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 29th day of November, 2018, I electronically filed the

   foregoing PLAINTIFF’S TRIAL BRIEF with the Clerk of Court using the CM/ECF system.

         I   also   served    copies   by   electronic   mail   on   Defendant     Connelly

   (michaeljconnellynyc@gmail.com), Defendant Dawn Eidelman (ddeidelman@gmail.com)

   and Defendant Gene Eidelman (gene.eidelman@gmail.com) all of whom have consented

   to service via electronic means.

                                                         /s/ Denis H. Mark______




                                              8
